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                                    Slip Op. 

               UNITED STATES COURT OF INTERNATIONAL TRADE


 DIAMOND TOOLS TECHNOLOGY LLC,

                  Plaintiff,

 v.

 UNITED STATES,                                       Before: Timothy M. Reif, Judge

                  Defendant,                          Court No. 20-00060
 and

 DIAMOND SAWBLADES
 MANUFACTURERS’ COALITION,

                 Defendant-Intervenor.


                                      JUDGMENT

       Before the court is the second remand redetermination of U.S. Customs and

Border Protection (“Customs”), issued pursuant to the court’s order in Diamond Tools

Tech. LLC v. United States (“Diamond II”), 46 CIT __, 609 F. Supp. 3d 1378 (2022).

Final Remand Redetermination Pursuant to Court Remand, ECF No. 92 (“Remand

Results”).

       On April 17, 2023, plaintiff Diamond Tools Technology LLC (“DTT USA” or

“plaintiff”) filed comments in response to the Remand Results. Pl.’s Cmts. Opp’n to

Final Results of Second Redetermination, ECF No. 97. On April 17, 2023, defendant-

intervenor Diamond Sawblades Manufacturers’ Coalition filed comments in response to

the Remand Results. Def.-Intervenor’s Cmts. Opp’n to Second Redetermination, ECF

No. 96. On May 26, 2023, defendant United States filed a reply to plaintiff’s and
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defendant-intervenor’s comments on the Remand Results. Def.’s Reply to Pl.’s and

Def.-Intervenor’s Cmts. on Second Redetermination, ECF No. 98. On May 26, 2023,

plaintiff filed further comments in support of the Remand Results. Pl.’s Resp. Cmts.

Supp. of Final Results of Second Redetermination, ECF No. 99. The court reviewed

parties’ filings and responses thereto.

       In Diamond I, the court remanded in part Customs’ affirmative finding of evasion

of the antidumping duty order in Customs’ Final Determination as to Evasion and Final

Administrative Decision on Certain Diamond Sawblades and Parts Thereof from the

People’s Republic of China (“China”). Diamond Tools Tech. LLC v. United States

(“Diamond I”), 45 CIT __, 545 F. Supp. 3d 1324 (2021) (citing Customs’ Trade Remedy

& Law Enforcement Directorate Final Determination as to Evasion, EAPA Case No.

7184 (Sept. 17, 2019), CR 199, PR 220; and Customs’ Office of Regulations & Rulings

Decision on Request for Admin. Review, EAPA Case No. 7184 (Jan. 29, 2020), PR

232). The court ordered Customs to make a finding and explain its reasoning as to

whether DTT USA “enter[ed] covered merchandise . . . by means of any . . . act that is

material and false, or any omission that is material,” pursuant to the second statutory

requirement set forth in the Enforce and Protect Act (“EAPA”), section 517(a)(5)(A) of

the Tariff Act of 1930, as amended, 19 U.S.C. § 1517(a)(5)(A) (2018). See Diamond I,

45 CIT at __, 545 F Supp. 3d at 1356. In Diamond II, the court concluded that Customs

did not explain how DTT USA’s statement was material and false when DTT USA relied

on the directive issued by Commerce and remanded:

       Customs’ Remand Results to Customs for reconsideration in conformity
       with this court’s opinion. The court direct[ed] Customs to reconsider its
       conclusion consistent with this decision and the facts of this case and, in
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         particular, the applicability of the EAPA in the confined circumstance of an
         importer’s reliance on Commerce’s clear directive.

Diamond II, 46 CIT at __, 609 F. Supp. 3d at 1391. In the Remand Results, Customs

determined “under respectful protest” that plaintiff DTT USA “did not evade the AD

Order when it imported diamond sawblades assembled in Thailand with Chinese cores

and segments, prior to December 2017.” Remand Results at 2. Customs stated:

         Consistent with the Court's reasoning in Diamond Tools II, under respectful
         protest, we find that, in light of the Court's interpretation of Commerce's
         2006 IDM, DTT did not make false statements with respect to its pre-
         December 1, 2017 entries, and thus did not engage in evasion when it
         entered diamond sawblades assembled in Thailand with Chinese
         components into the United States without declaring such merchandise as
         subject to the AD Order.

Id. at 7.

         Upon consideration of the Remand Results, the parties’ submissions and the

papers and proceedings had herein, it is hereby

         ORDERED that the Remand Results are sustained.

                                                  /s/   Timothy M. Reif
                                                  Timothy M. Reif, Judge


Dated:    -XO\
         New York, New York
